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13
14                       IN THE UNITED STATES DISTRICT COURT
15                             FOR THE DISTRICT OF ARIZONA
16
     United States of America,                           CR-18-00422-PHX-SPL (BSB)
17
                           Plaintiff,                    UNITED STATES’ REPLY IN
18                                                       SUPPORT OF MOTION FOR
              v.                                         DETENTION PENDING THE
19                                                       IMPOSITION OF RELEASE
                                                              CONDITIONS
20       1. Michael Lacey
                                                     [Detention Hearing Set: April 11, 2018]
21
                           Defendant.
22
23         The United States previously filed a motion explaining why defendant Michael
24   Lacey (“Lacey”) is a flight risk, and potential danger to the community, and thus should
25   not be released from custody unless and until stringent release conditions are imposed. See
26   CR 13. In response, Lacey filed a pleading arguing that he should be released on his own
27   recognizance with very modest conditions. See CR 23. Through this reply, the United
28   States seeks to address Lacey’s arguments.
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 1   A.      Nature And Circumstances Of Offense
 2           The United States showed in its motion that Lacey faces the real possibility of
 3   spending the rest of his life in prison if convicted of all or even some of the 79 counts with
 4   which he is charged. See CR 13 at 4. In his response, Lacey does not dispute that the
 5   charges are very serious and carry a substantial potential punishment—instead, he focuses
 6   on the other § 3142(g) factors.
 7   B.      Strength Of The Evidence
 8           The United States argued in its motion that the strength-of-the-evidence factor
 9   supports a flight-risk determination because the grand jury has already returned an
10   indictment, the indictment contains a detailed summary of some of the incriminating
11   evidence against Lacey, and the United States Senate separately issued a 50-page report
12   recognizing the criminal nature of Lacey’s contributions to Backpage. See CR 13 at 4-5.
13           In response, Lacey argues that the strength-of-the-evidence factor favors him
14   because the theory underlying the indictment in this case has “been repeatedly litigated,
15   and in each case, rejected on First Amendment grounds.” See CR 23 at 3-4. See also id.
16   at 11-12 (“Courts have uniformly held that Backpage’s publishing and receiving payments
17   for online ads is legal, such ads are constitutionally-protected speech, and the government
18   cannot pursue criminal charges against a website operator based on accusations of
19   generalized knowledge . . . .”). Lacey further asserts that he and Backpage have prevailed
20   “without exception in every civil or criminal action in the past” (id. at 12) and that “no
21   court, state or federal, has accepted the government’s asserted theory of criminality in this
22   case” (id. at 14).
23           Although a detention hearing is not the correct forum for addressing the ultimate
24   merit of these arguments, the United States cannot help but point out that Lacey’s claims
25   are factually inaccurate. First, Lacey is simply wrong in his claim that “no court” has ever
26   accepted the theory that a website or website operator may be criminally prosecuted under
27   federal law for knowingly facilitating prostitution. In United States v. Omuro, N.D. Cal.
28   No. CR 14-CR-336, the founder of the website www.myRedBook.com was convicted of


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 1   violating 18 U.S.C. § 1952—the very crime charged in this case. In the factual basis of his
 2   plea agreement, Omuro admitted that “[t]he website hosted advertisements, the vast
 3   majority of which were posted by prostitutes containing their picture[s], and in most
 4   instances, the sexual services they offered, and their rates. . . . The website also allowed
 5   site users to submit, search, and read reviews of the services offered by particular
 6   prostitutes. . . . As such, the website promoted and facilitated the carrying on of prostitution
 7   throughout California, elsewhere in the United States, and Canada.” Similarly, in United
 8   States v. Hurant, E.D.N.Y No. CR 16-45, the founder of the website www.Rentboy.com
 9   was convicted of violating 18 U.S.C. § 1952. In his sentencing memo, Hurant admitted he
10   “was well aware . . . that the escort ads he posted . . . were thinly-veiled proposals of sexual
11   services in exchange for money.”1 And again, in 2012, the Department of Justice obtained
12   the forfeiture of the website www.escorts.com based on similar conduct.                     See
13   https://archives.fbi.gov/archives/philadelphia/press-releases/2012/internet-escort-
14   services-firms-charged-with-money-laundering-sentenced-in-federal-court.
15          The results in these cases are hardly surprising and easy to harmonize with the First
16   Amendment. Long ago, the Supreme Court recognized that “[w]e have no doubt that a
17   newspaper constitutionally could be forbidden to publish a want ad . . . soliciting
18   prostitutes.” Pittsburgh Press Co. v. Human Relations Comm’n, 413 U.S. 376, 388 (1973).
19   Put simply, the First Amendment does not protect speech promoting criminal conduct. See,
20   e.g., United States v. Stevens, 559 U.S. 460, 468-69 (2010) (“From 1791 to the present,
21   . . . the First Amendment has permitted restrictions upon the content of speech in a few
22   limited areas, and has never include[d] a freedom to disregard these traditional limitations.
23
24
     1
25           Hurant has other parallels to this case. In its Hurant sentencing memo, the
     government stated that although the Rentboy.com website “had disclaimers that claimed
26   that the advertisements on the site were for companionship only and not for prostitution,”
     the company’s employees would often reject ads containing explicit offers of sex for
27
     money “but allow the ad to be resubmitted with different language. In many cases,
28   Rentboy.com employees would just edit the advertisement’s language and approve it.”


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 1   These historic and traditional categories long familiar to the bar—including obscenity,
 2   defamation, fraud, incitement, and speech integral to criminal conduct—are well-defined
 3   and narrowly limited classes of speech, the prevention and punishment of which have never
 4   been thought to raise any Constitutional problem.”) (citations omitted); United States v.
 5   Meredith, 685 F.3d 814, 819-20 (9th Cir. 2012) (applying “the First Amendment exception
 6   that allows the government to regulate speech that is integral to criminal conduct”); United
 7   States v. Rahman, 189 F.3d 88, 116-17 (2d Cir. 1999) (“[F]reedom of speech . . . do[es]
 8   not extend so far as to bar prosecution of one who uses a public speech . . . to commit
 9   crimes.”). See also Central Hudson Gas & Elec. Corp. v. Pub. Serv. Comm’n of N.Y., 447
10   U.S. 557, 563-64 (1980) (“[T]here can be no constitutional objection [under the First
11   Amendment] to the suppression of . . . commercial speech related to illegal activity.”).
12          Second, Lacey is also wrong in his claim that he and Backpage have prevailed
13   “without exception” in all previous civil and criminal cases brought against them. In 2015,
14   the Washington Supreme Court denied Backpage’s and Lacey’s motion to dismiss a civil
15   lawsuit brought by three minor girls who had been “bought and sold for sexual services
16   online on Backpage.com.” See J.S. v. Village Voice Media Holdings, Inc., 359 P.3d 714,
17   715-16 (Wash. 2015). The Court held that, because the plaintiffs had plausibly alleged that
18   Backpage does “more than just provide a forum for illegal content” and affirmatively
19   shapes the content of users’ ads through “posting rules [that are] ‘designed to help pimps
20   develop advertisements that can evade the unwanted attention of law enforcement, while
21   still conveying the illegal message,’” the plaintiffs should be permitted to conduct
22   discovery “to ascertain whether in fact Backpage designed its posting rules to induce sex
23   trafficking.” Id. at 718. Tellingly, in 2017, following extensive discovery, the trial judge
24   in the J.S. case denied Backpage’s motion for summary judgment. See Exhibit A.
25   Afterward, Backpage agreed to enter into a confidential settlement with the plaintiffs. It is
26   difficult to understand how Lacey considers this case to be part of an uninterrupted string
27   of victories.
28


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 1          A recent decision from the District of Massachusetts further belies Lacey’s
 2   representation that he has prevailed “without exception” in all previous Backpage-related
 3   cases. Less than two weeks ago—on March 29, 2018—the Hon. Leo Sorokin issued a five-
 4   page order denying in part a motion to dismiss that Lacey had filed in a civil case brought
 5   by a different underage victim who had been trafficked via Backpage. See Jane Doe No.
 6   1 v. Backpage.com, LLC, 2018 WL 1542056 (D. Mass. 2018). The ruling explained that,
 7   because the plaintiff had made a plausible allegation that Backpage had “redrafted [her]
 8   advertisement . . . to suggest she was an adult,” the alleged conduct was not covered by the
 9   CDA’s grant of immunity. Id. at *1. Here, similarly, the indictment contains allegations
10   that Backpage helped edit and redraft prostitution advertisements.
11          Third, although it is true that Lacey and Backpage have prevailed in a number of
12   prior cases that sought civil remedies or that turned on whether Backpage could be
13   prosecuted under state criminal law (see CR 23 at 11-12), those cases are easily
14   distinguishable. First, those cases are distinguishable for the obvious reason that the CDA
15   provides a broad grant of immunity in such contexts. This, however, is a case brought
16   under federal criminal law—a context in which the CDA has no application. See 47 U.S.C.
17   § 230(e)(1) (“Nothing in this section shall be construed to impair the enforcement of
18   . . . [any] Federal criminal statute.”). Indeed, the successful prosecutions in the
19   myRedBook.com, Rentboy.com, and escorts.com cases demonstrate that federal
20   criminal liability may be imposed under these circumstances. Second, those cases are
21   also distinguishable because, with one exception (People v. Ferrer), they were decided
22   prior to the release of the PSI report in 2017. That report addressed documents and other
23   evidence that were not available when the cited cases were decided. (So, too, did the grand
24   jury investigation in this case.)
25          Fourth, and finally, Lacey’s discussion of a 2013 ruling arising from a different
26   grand jury investigation in the Western District of Washington (see CR 23 at 12) is
27   particularly inappropriate. As an initial matter, the orders that Lacey has attached as
28   Exhibits E and F to his pleading are, in fact, sealed orders that cannot be disclosed in this


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 1   fashion. Undersigned counsel has discussed this exact point with Lacey’s counsel in the
 2   past.    Furthermore, Lacey’s counsel are aware of (and participated in) subsequent
 3   proceedings in which Lacey’s current arguments concerning the relevance of the Western
 4   District of Washington orders were rejected.
 5   C.      Defendant’s History And Characteristics
 6           The United States argued in its motion that, although certain aspects of Lacey’s
 7   history and characteristics are favorable to him, his extensive foreign assets, foreign travels,
 8   and efforts to hide multi-million dollar stashes of money overseas create a significant risk
 9   of flight. See CR 13 at 5-7.
10           Lacey responds by identifying certain awards he received during his publishing
11   career, discussing his wrongful arrest in a prior unrelated case, touting his charitable and
12   philanthropic contributions, emphasizing his ties to the community, and noting that he has
13   abided by his release conditions in the California case. He also argues, in reliance on
14   United States v. Hoover, 2014 WL 2094201 (D. Ariz. 2014), that “the mere opportunity to
15   flee is not enough to justify detention.”
16           These arguments are unavailing. As an initial matter, Lacey fails to acknowledge
17   that multiple recipients of his Backpage-derived contributions have refused to accept (or
18   attempted to give away) his money after learning of its provenance.                  See, e.g.,
19   https://www.azcentral.com/story/news/politics/arizona/2017/04/18/rep-kyrsten-sinema-
20   says-she-giving-away-backpage-owners-donations/100584648/. Additionally, the Hoover
21   case does not support Lacey’s position that he should be immediately released from
22   custody without posting a significant bond. Indeed, the defendant in Hoover was similar
23   in many respects to Lacey—Hoover was a “62-year-old U.S. citizen” with “no prior
24   criminal history” who was “an experienced international traveler” and held extensive
25   international assets. Id. at *3-4. These factors, along with others, led the magistrate judge
26   in the Hoover case to conclude “there are no combination of release conditions that would
27   reasonably assure that Hoover will appear at trial as required given his foreign connections
28   to property and money; his international travel experience; his remarkable ability and


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 1   willingness to conceal money and property; [and other factors].” Id. at *12. Furthermore,
 2   although the district court in the Hoover case later authorized the defendant to be released
 3   with conditions, those conditions were similar to the conditions sought by the United States
 4   here (e.g., a large bond).
 5   D.      Danger To The Community
 6           In its motion, the United States argued that, because the Backpage website has
 7   contributed to massive victimization (i.e., danger to the community), the Court should
 8   impose a release condition precluding Lacey from making any future efforts to exert
 9   control over the website. See CR 13 at 7. In his response, Lacey argues that no such danger
10   exists because he sold his interests in Backpage in 2015 and because the website is no
11   longer in operation. See CR 23 at 2 (“[The government] claims Mr. Lacey represents a
12   danger to the community because of his connection to a website which he sold in 2015
13   . . . .”); CR 23 at 14 (“[T]he government has seized and shut down the website operated by
14   Backpage. A fortiori, if he is released, he could not engage in the offense conduct for which
15   he is accused.”)
16           Notwithstanding the overheated rhetoric in Lacey’s pleading, the parties’ respective
17   positions on the danger-to-the-community issue are actually quite similar. The United
18   States simply wishes to ensure that Lacey does not make a future attempt to regain or exert
19   control over Backpage. Lacey, meanwhile, appears to concede that he has no intention of
20   doing so. Thus, the Court should impose the release condition the United States requested.
21   E.      Conclusion
22           For all of the foregoing reasons, the Court should not release Lacey without first
23   imposing the stringent release conditions detailed in the United States’ motion, including
24   the posting of a sizeable bond.
25           Furthermore, should Lacey identify funds or assets that could be used to secure a
26   suitably-large bond, the Court should conduct an inquiry into the source of those funds or
27   assets. The Bail Reform Act codified a district court’s authority to conduct such an inquiry,
28   which is often called a Nebbia hearing. 18 U.S.C. § 3142(g)(4) (“[T]he judicial officer


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 1   . . . shall upon the motion of the Government . . . conduct an inquiry into the source of the
 2   property to be designated for potential forfeiture or offered as collateral to secure a bond,
 3   and shall decline to accept the designation, or the use as collateral, of property that, because
 4   of its source, will not reasonably assure the appearance of the person as required.”). Here,
 5   Lacey should not be permitted to use the proceeds of the charged crime to secure his release
 6   pending trial. United States v. Sharma, 2012 WL 1902919, *4 (E.D. Mich. 2012) (holding
 7   that although “there is no iron-clad rule that a defendant must show that collateral to
 8   support pre-trial release was lawfully acquired,” “the legislative history of the [Bail
 9   Reform] Act makes clear that Congress believed, in most cases, the potential loss of the
10   fruits of an alleged crime will not reasonably assure the appearance of the defendant at
11   trial” and that “[a]bsent exceptional circumstances, bail funded in part from alleged
12   criminal activity does not adequately assure the appearance of the defendant; instead, as
13   the Senate Committee found, forfeiture of the proceeds of a crime is simply a business cost
14   of avoiding prosecution, leaving the defendant no worse off than before he engaged in
15   criminal activity, but far better off than if in prison”).
16          Respectfully submitted this 10th day of April 2018.
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